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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   ERIC STOLL,

          Plaintiff,

   v.                                                   CASE NO. 8:17-cv-1021-T-23AAS

   CREDIT ONE BANK, N.A.,

         Defendant.
   ____________________________________/


                                           ORDER

          The defendant moves (Doc. 13) unopposed to compel arbitration and to stay

   the case. The motion (Doc. 13) is GRANTED. In accord with 9 U.S.C. § 3, this

   action is STAYED. The clerk is directed to administratively close the case. Within a

   week after the parties receive the arbitral decision, the plaintiff must move to re-open

   the case and to lift the stay. If the parties have not received the arbitral decision by

   JANUARY 22, 2018, on that day the plaintiff must file a report detailing the status

   of the arbitration.

          ORDERED in Tampa, Florida, on July 25, 2017.
